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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       CASE NO. 24-cr-121-CRC
v.                                            :
                                              :
STEPHEN BAKER,                                :
                                              :
       Defendant.                             :

              GOVERNMENT’S OPPOSITION TO DEFENDANT’S NOTICE
                     FOR TRIAL BY MAGISTRATE JUDGE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully opposes the defendant’s notice for trial by United States

Magistrate Judge because good cause exists for this Court to retain jurisdiction of the case.

       Two months before trial, and after this Court denied the defendant’s motion to continue the

trial date, see Minute Order (Aug. 23, 2024), the defendant has—for the first time—expressed an

intent to waive trial, judgment, and sentencing, by a district judge pursuant to 18 U.S.C. § 3401(b).

On March 1, 2024, United States Magistrate Judge Clinton E. Averitte, in the Northern District of

Texas, advised the defendant that he would have the opportunity to consent to trial and sentencing

by a United States Magistrate Judge. See Transcript of Proceedings, 24-mj-205-RB dated March

1, 2024, N.D. Tex., p. 19-20. The defendant did not make such an election at that time. Now, two

months before the trial date and after the parties have filed pretrial motions that remain pending

with this Court, see ECF Nos. 35-39, the defendant now informs this Court that he wishes to

consent to have his trial before a United States Magistrate Judge. This action does not require the

Court to void its schedule and direct a magistrate judge to hear the case.
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    I.       Legal Background

          United States Magistrate Judges are granted jurisdiction under 18 U.S.C. § 3401(a) to “try

persons accused of, and sentence persons convicted of, misdemeanors committed within that

judicial district.” This jurisdiction is limited to those districts that have “specially designated” the

ability for United States Magistrate Judges to exercise such jurisdiction. Id. The District of

Columbia has specially designated its magistrate judges to exercise such jurisdiction. See LCrR

58(a). United States Magistrate Judges are then conferred power “to conduct trial under section

3401, title 18, United States Code, in conformity with and subject to the limitations of that section

. . ..” 28 U.S.C. § 636(a)(3) (emphasis added).

          A magistrate judge, under 18 U.S.C. § 3401(b), may not “proceed to try the case unless the

defendant . . . expressly consents to be tried before the magistrate judge and expressly and

specifically waives trial, judgment, and sentencing by a district judge” (emphasis added).

          Following such consent, subsection (f) still permits a District Judge to “order that

proceedings in any misdemeanor case be conducted before a district judge rather than a United

States magistrate judge . . ..” 18 U.S.C. § 3401(f). This order can occur either “upon the court’s

own motion or, for good cause shown, upon petition by the attorney for the Government.” Id.

(emphasis added).

    II.      Argument

          Title 18, United States Code Section § 3401(b) contemplates that a defendant can elect—

and expressly consent to—trial before a magistrate judge while the case is still in front of the

magistrate judge. At this point in the instant case, however, the jurisdiction of the case is no longer

with the magistrate judge. The language limiting the authority of the magistrate judge in no way

limits the authority of the District Judge to try the case.



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       The statute reads, “Any person charged with a misdemeanor, other than a petty offense may

elect, however, to be tried before a district judge for the district in which the offense was

committed.” 18 U.S.C. § 3401(b). But the magistrate judge “may not proceed to try the case unless

the defendant, after such explanation, expressly consents to be tried before the magistrate judge . .

..” Id. (emphasis added). Further, at the initial appearance following the filing of a charging

document, the magistrate judge “must order a defendant who does not consent to trial before a

magistrate judge to appear before a district judge for further proceedings.” Fed. R. Crim. P.

58(b)(3)(B). At that point, the magistrate judge no longer has jurisdiction over the case.

       Here, the defendant failed to consent at his initial appearance, and the magistrate judge

ordered the defendant to appear before this Court for further proceedings. The defendant had ample

opportunity to announce his election before the parties had briefed motions and undertaken trial

preparations in this Court. The purpose behind 18 U.S.C. § 3401 is to promote judicial economy.

Further, the Federal Rules of Criminal Procedure are to “provide for the just determination of every

criminal proceeding, to secure simplicity in procedure and fairness in administration, and to

eliminate unjustifiable expense and delay.” Fed. R. Crim. P. R 2. The defendant’s election to be

tried by a magistrate judge two months before his scheduled jury trial in front of this District Judge

is anything but economical of the Court’s time and resources.

       Three months after the filing of the Information, this Court held a status hearing on this

case. The Court addressed the defense, “We’ve been at this for three months or so, the information

came in. It’s misdemeanors. All the specific discovery has been provided. Sometime in the fall,

Mr. Shipley?” Transcript of Status Conference, June 3, 2024, p. 6, ln. 1-4. The defense replied that

it expected motions to be filed, including a motion related to a claim of selective prosecution. The

defense then explained there was nothing further on the status of the case. Id. p. 8, ln. 15.



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       Since that hearing, the Court entered a pretrial scheduling order setting November 12,

2024, as the start of jury trial. ECF No. 27. After the setting of the date, the defense filed a motion

to continue trial on July 23, 2024. ECF No. 30. The Court denied that motion as premature on

August 23, 2024. See Minute Order (Aug. 23, 2024). At the scheduled motion filing deadline, the

government filed four motions in limine. ECF No. 35, 36, 37, 38. The defense filed an additional

motion seeking to dismiss counts one through four. ECF No. 39. With those motions still pending,

and eleven days after the motion filing deadline, the defense filed a ‘notice’ for trial by magistrate

judge. ECF No. 41.

       Such an election at this point requires the government’s consent. 1 In each of the prior

instances where the government did not object to a late election of trial before a magistrate judge

in a January 6 case, the election still occurred in advance of motion practice. The same cannot be

said in the present case.

       In this case, the defendant has similarly not shown “good cause” to proceed in this fashion

at this time. Both parties and the Court have trials scheduled in multiple matters. Additionally,

there is active litigation before this Court on issues of trial importance.




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  See generally, United States v. Nancy Barron, 22-cr-89-APM, ECF No. 35 (parties consented to
trial by magistrate judge); United States v. Rebecca Lavrenz, 23-cr-66-RC, ECF No. 37
(government did not oppose the motion after Judge Contreras ordered a response); United States
v. Cindy Young, 23-cr-241-TSC, ECF No. 18 (government did not oppose a motion after Judge
Chutkan’s order for response); United States v. Jared Kastner, 21-cr-725-RDM, ECF No. 73
(government had no objection to the defendant’s motion after Judge Moss ordered a response).
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   III.      Conclusion

          Because the defendant failed to elect trial before a magistrate judge until two months prior

to his schedule trial, this Court should deny the defendant’s motion to be tried before a magistrate

judge.

                                        Respectfully Submitted,

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